
SHIRLEY S. ABRAHAMSON, J. (concurring).
¶ 3 As I did last term in Smith v. Kleynerman,1 I write separately to preserve institutional and historical memory.
¶ 4 In the instant case, the court is equally divided on the question of whether the unpublished *607decision of the court of appeals2 should be affirmed or reversed. The per curiam opinion does not list the names and votes of the participating justices.
¶ 5 In Kleynerman, an opinion issued on March 21, 2017, I catalogued 115 of this court's cases from 1885 through 2016 in which the names and votes of the participating justices were presented and 26 cases from 1849 through 2016 in which the names and votes of the participating justices were not presented.
¶ 6 Since Kleynerman, a total of two cases (including Kleynerman ) have resulted in an equally divided court.3 The court *395did not present the names and votes of the participating justices in either case. In the instant case and its companion,4 the court continues to deviate from the court's historical practice by failing to present the names and votes of the participating justices. The court has still provided no explanation for its change in practice.
¶ 7 Although the dominant practice has been to list the names and votes of the participating justices, this court's historical practice has been inconsistent, and there is no established rule resolving the issue.5
*608¶ 8 My view is that the court should consistently report the names and votes of the participating justices in the event of a tie vote. Such a practice advances the important goal of transparency in government and is consistent with every other opinion of this court in which the vote of each participating justice is known to the public.
¶ 9 For the foregoing reasons, I write separately.

Smith v. Kleynerman, 2017 WI 22, 374 Wis. 2d 1, 892 N.W.2d 734.


Wingra Redi-Mix, Inc. v. State Historical Soc'y of Wisconsin, Nos. 2015AP1632 &amp; 2015AP1844, unpublished slip op. (Wis. Ct. App. July 31, 2017).


Smith v. Kleynerman, 2017 WI 22, 374 Wis.2d 1, 892 N.W.2d 734 N.W.2d 734 (on appeal); P'ship Health Plan, Inc. v. Office of Comm'r of Ins., 2018 WI 1, 379 Wis. 2d 56, 905 N.W.2d 122 (on appeal).


Wingra Redi-Mix, Inc. v. Burial Sites Preservation Bd., No. 2014AP2498, unpublished slip op. (Wis. Ct. App. July 31, 2017).


I do note, however, that The Wisconsin Supreme Court Style and Procedures Manual contains a section entitled "Examples of Per Curiam Opinions where court is equally divided[.]" The only two examples listed are both cases in which the names and votes of the participating justices are presented.

